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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         :    CASE NO.
                                                  :
                       v.                         :
                                                  :    VIOLATIONS:
 DAVID WIERSMA,                                   :    18 U.S.C. § 1752(a)(1)
 DAWN FRANKOWSKI,                                 :    (Entering and Remaining in a Restricted
                                                  :    Building or Grounds)
                            Defendants.           :    18 U.S.C. § 1752(a)(2)
                                                  :    (Disorderly and Disruptive Conduct in a
                                                  :    Restricted Building or Grounds)
                                                  :    40 U.S.C. § 5104(e)(2)(D)
                                                  :    (Disorderly Conduct in
                                                  :    a Capitol Building)
                                                  :    40 U.S.C. § 5104(e)(2)(G)
                                                  :    (Parading, Demonstrating, or Picketing in
                                                  :    a Capitol Building)


     MOTION TO SEAL AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       The United States of America, by and through the United States Attorney for the District

of Columbia, respectfully moves for an order to place and maintain under seal, until the Arrest

Warrants are executed, the Affidavit in Support of Criminal Complaint, Criminal Complaint, and

Arrest Warrants in the above-captioned matter, this Motion and Supporting Memorandum, the

proposed Order attached to this Motion, and any Order granting this motion. In support thereof,

the government states as follows:

       1.      The United States is investigating allegations that David Wiersma and Dawn

Frankowski willfully and knowingly entered the United States Capitol on January 6, 2021,

without legal authority, and participated in violent and disorderly conduct in violation of 18

U.S.C. §§ 1752(a)(1) and (a)(2), and 40 U.S.C. §§ 5104(e)(2)(D) and (G).

       2.      The Affidavit in Support of Criminal Complaint references evidence gathered

during the investigation. The public disclosure of the Government’s evidence could
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compromise the integrity of the investigation, including the ability of the United States to locate

and arrest the defendants. The Government also anticipates imminently obtaining one or more

search warrants for items believed to be in the defendants’ possession. Premature disclosure of

the charging documents may risk hampering those efforts or lead to the destruction of evidence.

Thus, a sealing order is necessary to avoid hindering the ongoing investigation in this matter.

       2.      As stated in Washington Post v. Robinson, 935 F.2d 282, 288 (D.C. Cir. 1999),

there is a presumption of access to Court proceedings. But, this can be overridden if “‘(1)

closure serves a compelling interest; (2) there is a substantial probability that, in the absence of

closure, this compelling interest would be harmed; and (3) there are no alternatives to closure

that would adequately protect the compelling interest.’” Id. at 290 (quoting Oregonian Pub. Co.

v. United States Dist. Court, 920 F.2d 1462, 1466 (9th Cir. 1990)).

       3.      In this matter, the United States has a compelling interest in preserving the

integrity of its investigation and arresting the defendants. A limited sealing order ensuring that

filings related to the Criminal Complaint and Arrest Warrants are not accessible from the Court’s

public files is narrowly tailored to serve a compelling interest.

       4.      Furthermore, the United States respectfully submits that complying with the

normal notice requirements of Washington Post would defeat the purpose of the motion to seal.

Persons who know the criminal justice system also know that docketing a motion to seal an

Affidavit in Support of Criminal Complaint and Arrest Warrant, or a resulting sealing order,

means that the listed defendant is charged with a crime, and the Government intends to arrest

him. Thus, if this Motion or a sealing order were to become public, it would be the same as

making public the Complaint and Arrest Warrants.




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       WHEREFORE, the United States respectfully requests that this Court issue an Order

directing that the Clerk of the Court place and maintain under seal, until execution of the Arrest

Warrants, the Affidavit in Support of Criminal Complaint, this Motion and Supporting

Memorandum, the proposed Order attached to this Motion, and any Order granting this motion.

                                             Respectfully submitted,

                                             CHANNING D. PHILLIPS
                                             ACTING UNITED STATES ATTORNEY
                                             D.C. Bar No. 415793


                                         By: /s/ Monica A. Stump___________
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